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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                           )
In re:                                                     )   Chapter 11
                                                           )
                                    1
ARENA ENERGY, LP, et al.,                                  )   Case No. 20-34215 (MI)
                                                           )
                                                           )   (Jointly Administered)
                                    Debtors.               )
                                                           )   Re. Docket No. 44

      NOTICE OF (I) COMMENCEMENT OF PREPACKAGED CHAPTER 11
     BANKRUPTCY CASES, (II) COMBINED HEARING ON THE DISCLOSURE
STATEMENT, CONFIRMATION OF THE JOINT PREPACKAGED CHAPTER 11 PLAN,
AND RELATED MATTERS, AND (III) RELATED OBJECTION AND BRIEFING DEADLINES

         NOTICE IS HEREBY GIVEN as follows:

        On August 20, 2020 (the “Petition Date”), Arena Energy, LP and certain of its affiliates,
as debtors and debtors in possession in the above-captioned chapter 11 cases (collectively,
the “Debtors”), filed voluntary petitions for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the Southern District of Texas (the “Bankruptcy Court”). Contemporaneously therewith,
the Debtors filed the Debtors’ Joint Prepackaged Plan Pursuant to Chapter 11 of the Bankruptcy
Code [Docket No. 12] (as may be amended, modified, or supplemented from time to time and
including all exhibits and supplements thereto, the “Plan”) and the Disclosure Statement Relating
to the Debtors’ Joint Prepackaged Plan Pursuant to Chapter 11 of the Bankruptcy Code
[Docket No. 13] (as amended, supplemented, or otherwise modified from time to time, including
all exhibits and supplements thereto, the “Disclosure Statement”) 2 pursuant to sections 1125 and
1126(b) of the Bankruptcy Code. Copies of the Plan and the Disclosure Statement: (a) are
available on the Debtors’ restructuring website, free of charge, at
http://www.kccllc.net/Arena; (b) may be obtained upon request of the Debtors’ proposed counsel
at the address specified below; (c) are on file with the Clerk of the Bankruptcy Court, 4th Floor,

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    The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
    number, are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena Energy GP, LLC (7454);
    Arena Exploration, LLC (1947); Sagamore Hill Holdings, LP (8266); and Valiant Energy, L.L.C. (7184). The
    location of the debtors’ service address is: 2103 Research Forest Drive, Suite 400, The Woodlands, Texas 77380.
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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan or
    Disclosure Statement, as applicable. The statements contained herein are summaries of the provisions contained
    in the Plan and Disclosure Statement and do not purport to be precise or complete statements of all the terms and
    provisions of the Plan or documents referred to therein. To the extent there is a discrepancy between the terms
    herein and the Plan or Disclosure Statement, the Plan or Disclosure Statement, as applicable, shall govern and
    control. For a more detailed description of the Plan, please refer to the Disclosure Statement.
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515 Rusk Street, Houston, Texas 77002, where they are available for review between the hours of
8:30 a.m. to 5:00 p.m., prevailing Central Time; and (d) are available for inspection for a fee on
the Bankruptcy Court’s website at www.txs.uscourts.gov.

                 Information Regarding the Plan and Disclosure Statement

        Voting Record Date. The voting record date was August 12, 2020, which was the date
for determining which Holders of Claims in Class 3 (RBL Facility Claims) and Class 4 (Term
Loan Claims) were entitled to vote on the Plan.
         Objections to the Plan and Disclosure Statement.                  Any objections (each,
an “Objection”) to the Plan and Disclosure Statement, or the proposed assumption of Executory
Contracts and Unexpired Leases, must: (a) be in writing; (b) comply with the Federal Rules of
Bankruptcy Procedure and the Bankruptcy Local Rules for the Southern District of Texas; (c) state
the name and address of the objecting party and the amount and nature of the Claim or Interest
owned by such Entity; (d) state with particularity the legal and factual basis for such Objections,
and, if practicable, a proposed modification to the Plan or Disclosure Statement that would resolve
such Objections; and (e) be filed on the Bankruptcy Court’s docket no later than
September 18, 2020, at 4:00 p.m., prevailing Central Time and served on the below parties.


                                             Debtors
                                        Arena Energy, LP
                                2103 Research Forest Drive, Suite 400
                                    The Woodlands, Texas 77380
                      Attention: John Edward Menger, Interim General Counsel
                                    EMenger@arenaenergy.com
                                Proposed Co-Counsel to the Debtors
              Kirkland & Ellis LLP
                 609 Main Street
              Houston, Texas 77002
           Telephone: (713) 836-3600                          Jackson Walker L.L.P.
           Facsimile: (713) 836-3601                     1401 McKinney Street, Suite 1900
          Attention: Brian Schartz, P.C.                        Houston, Texas 77010
           brian.schartz@kirkland.com                    Attention: Matthew D. Cavenaugh,
                                                       Genevieve Graham, Veronica A. Polnick,
                       and                                    and Victoria Argeropolos
                                                                mcavenaugh@jw.com
              Kirkland & Ellis LLP                               ggraham@jw.com
             300 North LaSalle Street                            vpolnick@jw.com
              Chicago, Illinois 60654                           vargeroplos@jw.com
            Telephone: (312) 862-2000
            Facsimile: (312) 862-2200
           Attention: Gregory F. Pesce
           gregory.pesce@kirkland.com




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               Consenting RBL Lenders                                              Plan Sponsor
                  Haynes & Boone, LLP
             2323 Victory Avenue, Suite 700
                                                                           San Juan Offshore, LLC
                    Dallas, Texas 75219
                                                                        Attention: Michael J. Minarovic,
    Attention: J. Frasher Murphy and Eli Columbus
                                                                            Chief Executive Officer
           frasher.murphy@haynesboone.com
                                                                          mike@sanjuanoffshore.com
             eli.columbus@haynesboone.com
                                                                                         and
                            and
                                                                          Davis Polk & Wardwell LLP
                Haynes & Boone, LLP
                                                                              450 Lexington Avenue
                 1221 McKinney Street
                                                                           New York, New York 10017
                       Suite 4000
                                                                Attention: Brian Resnick and Stephanie Massman
                 Houston, Texas 77010
                                                                          brian.resnick@davispolk.com
       Attention: Austin Elam and Ellen Conley
                                                                       stephanie.massman@davispolk.com
            austin.elam@haynesboone.com
           ellen.conley@haynesboone.com
             Consenting Term Loan Lenders                                     United States Trustee
                     Milbank LLP
                   55 Hudson Yards                                    Office of the United States Trustee
             New York, New York 10001                                 for the Southern District of Texas
      Attention: Even Fleck and Parker Milender                           515 Rusk Street, Suite 3516
                 efleck@milbank.com                                          Houston, Texas 77002
               pmilender@milbank.com

UNLESS AN OBJECTION IS TIMELY FILED IN ACCORDANCE WITH THIS NOTICE
IT MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
INCLUDING THE RELEASE, EXCULPATION, DISCHARGE, AND INJUNCTION
PROVISIONS, AS YOUR RIGHTS MIGHT BE AFFECTED.

                                             Key Terms of the Plan 3

         The Plan provides, among other things, that upon emergence:

         •    All outstanding and undisputed General Unsecured Claims against the Debtors will be
              paid in full in cash, Reinstated, or otherwise Unimpaired by the Plan and satisfied in
              the ordinary course of business;

         •    All Other Priority Claims and Other Secured Claims will be paid in full in cash,
              Reinstated, or receive such other treatment that renders such Claims unimpaired under
              the Bankruptcy Code;


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     This summary is qualified in its entirety by the terms of the Plan. In the event of inconsistency or conflict between
     this summary and the terms of the Plan, the terms of the Plan shall control and govern.


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        •   Each Holder of an Allowed RBL Facility Claim will receive its Pro Rata portion of:
            (a) the Plan Sponsor Cash Amount and (b) the RBL Contingent Value Rights;

        •   Each Holder of an Allowed Term Loan Claim shall receive its Pro Rata portion of
            the Term Loan Contingent Value Rights;

        •   Arena Energy, LP Interests, Arena Energy GP, LLC Interests, Arena Energy 2020 GP,
            LLC Interests, and Sagamore Hill Holdings, LP Interests shall be, at the election of the
            Plan Sponsor in its sole discretion, (a) canceled, released and extinguished or
            (b) otherwise treated as determined by the Plan Sponsor in its sole discretion, in either
            case without the Holders thereof receiving any distribution on account of such Interests;

        •   Section 510(b) Claims will be canceled, released, and extinguished, and will be of no
            further force or effect; and

        •   All Intercompany Claims and Interests shall be at the election of the Plan Sponsor in
            its sole discretion: (a) Reinstated; (b) compromised, distributed, contributed, set off,
            settled, canceled, released and/or extinguished, without any distribution on account of
            such Intercompany Claims or Interests; or (c) otherwise treated as determined by
            the Plan Sponsor in its sole discretion.

        The following chart summarizes the treatment provided by the Plan to each Class of Claims
against and Interests in the Debtors and indicates the voting status of each Class.

                                                                                      Projected Plan
Class            Claim or Interest                Status         Voting Rights
                                                                                      Recovery (%)
                                                               Not Entitled to Vote
  1     Other Priority Claims                  Unimpaired                                 100%
                                                              (Presumed to Accept)
                                                               Not Entitled to Vote
  2     Other Secured Claims                   Unimpaired                                 100%
                                                              (Presumed to Accept)

  3     RBL Facility Claims                     Impaired        Entitled to Vote      10.3%-19.9%

  4     Term Loan Claims                        Impaired        Entitled to Vote       Up to 2.3%

                                                               Not Entitled to Vote
  5     General Unsecured Claims               Unimpaired                                 100%
                                                              (Presumed to Accept)
                                                               Not Entitled to Vote
                                               Impaired /
  6     Intercompany Claims                                   (Deemed to Reject or         0%
                                               Unimpaired
                                                              Presumed to Accept)
                                                               Not Entitled to Vote
                                               Impaired /
  7     Intercompany Interests                                (Deemed to Reject or         0%
                                               Unimpaired
                                                              Presumed to Accept)
                                                               Not Entitled to Vote
  8     Section 510(b) Claims                   Impaired                                   0%
                                                               (Deemed to Reject)
                                                              Not Entitled to Vote
  9     Arena Energy, LP Interests              Impaired                                   0%
                                                              (Deemed to Reject)

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                                                                                       Projected Plan
Class            Claim or Interest                Status          Voting Rights
                                                                                       Recovery (%)
                                                               Not Entitled to Vote
 10     Arena Energy GP, LLC Interests           Impaired                                    0%
                                                               (Deemed to Reject)
                                                               Not Entitled to Vote
 11     Arena Energy 2020 GP, LLC Interests      Impaired                                    0%
                                                               (Deemed to Reject)
                                                               Not Entitled to Vote
 12     Sagamore Hill Holdings, LP Interests     Impaired                                    0%
                                                               (Deemed to Reject)
                       Discharge, Injunctions, Exculpation, and Releases

        Please be advised that the Plan contains certain release, exculpation, discharge, and
injunction provisions as set forth below. All Holders of Claims or Interests will be deemed to
have expressly, unconditionally, generally, individually, and collectively consented to the
releases and discharge of all Claims and causes of actions against the Debtors and
the Released Parties unless such Holders: (x) elect to opt out of the releases contained in
Article IX of the Plan; or (y) timely object to the releases contained in Article IX.E of the Plan
and such objection is not resolved before confirmation.
Relevant Definitions

“Exculpated Party” means, collectively, and in each case in its capacity as such: (a) the Debtors;
(b) each Consenting RBL Facility Lender; (c) the RBL Facility Agent; (d) the Plan Sponsor;
(e) each Consenting Term Loan Lender; (f) the Term Loan Agent; and (g) with respect to each of
the foregoing, such Entity and its current and former Affiliates, and such Entity’s and its current
and former Affiliates’ current and former equity holders (direct and indirect), subsidiaries, officers,
directors, managers, principals, members, employees, agents, advisory board members, financial
advisors, partners, attorneys, accountants, investment bankers, consultants, representatives, and
other professionals, each in their capacity as such.

“Released Parties” means, collectively, and in each case, in their respective capacities as such:
(a) each Consenting RBL Facility Lender and any other Holders of RBL Facility Claims that vote
to accept the Plan and do not opt out of the releases in the Plan; (b) the RBL Facility Agent; (c) the
Plan Sponsor; (d) each Consenting Term Loan Lender and any other Holders of Term Loan Claims
that vote to accept the Plan and do not opt out of the releases in the Plan; (e) the Term Loan Agent;
(f) each current and former Affiliate of each Entity in clause (a) through (e); (g) with respect to
each Entity in clause (a) through (f), each such Entity’s current and former equity holders (direct
and indirect), subsidiaries, officers, directors, managers, principals, members, employees, agents,
advisory board members, financial advisors, partners, attorneys, accountants, investment bankers,
consultants, representatives, and other professionals, each in their capacity as such; and (h) each
Debtor’s current and former Affiliates, and each Debtor’s and each such Affiliate’s current and
former equity holders (direct and indirect), subsidiaries, officers, directors, managers, principals,
members, employees, agents, advisory board members, financial advisors, partners, attorneys,
accountants, investment bankers, consultants, representatives, and other professionals, each in
their capacity as such.



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“Releasing Parties” means, collectively, and in each case in their respective capacities as such:
(a) each Consenting RBL Facility Lender; (b) the RBL Facility Agent; (c) each Consenting Term
Loan Lender; (d) the Term Loan Agent; (e) each Holder of Claims and Interests that votes to accept
the Plan; (f) each Holder of Claims or Interests that (i) abstains from voting on the Plan and who
does not opt out of the releases in the Plan, (ii) votes to reject the Plan and who does not opt out
of the releases in the Plan, or (iii) is presumed to accept or deemed to reject the Plan and who does
not opt out of the releases in the Plan; (g) the Plan Sponsor; (h) each current and former Affiliate
of each Entity in clause (a) through (g); (i) with respect to each Entity in clause (a) through (h),
each such Entity’s current and former Affiliates, and each such Entity’s and each such Affiliate’s
current and former equity holders (direct and indirect), subsidiaries, officers, directors, managers,
principals, members, employees, agents, advisory board members, financial advisors, partners,
attorneys, accountants, investment bankers, consultants, representatives, and other professionals,
each in their capacity as such; and (j) each Debtor’s current and former Affiliates, and each
Debtor’s and each such Affiliate’s current and former equity holders (direct and indirect),
subsidiaries, officers, directors, managers, principals, members, employees, agents, advisory board
members, financial advisors, partners, attorneys, accountants, investment bankers, consultants,
representatives, and other professionals, each in their capacity as such.

RELEASES BY THE DEBTORS

Notwithstanding anything contained in the Plan, the Confirmation Order, or the Plan
Sponsor Agreement to the contrary, pursuant to section 1123(b) of the Bankruptcy Code, for
good and valuable consideration, the adequacy of which is hereby confirmed, on and after
the Effective Date, each Released Party is, and is deemed to be, hereby conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtors
and their Estates, in each case on behalf of themselves and their respective successors, assigns
and representatives, and any and all other Entities who may purport to assert any Claim or
Cause of Action, directly or derivatively, by, through, for, or because of the foregoing
Entities, from any and all Claims and Causes of Action, including any derivative claims
asserted on behalf of the Debtors, whether known or unknown, foreseen or unforeseen,
matured or unmatured, existing or hereafter arising, in law, equity, contract, tort or
otherwise, that the Debtors or their Estates would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the Holder of any Claim
against, or Interest in, a Debtor or other Entity, or that any Holder of any Claim against, or
Interest in, a Debtor or other Entity could have asserted on behalf of the Debtors, based on
or relating to, or in any manner arising from, in whole or in part, the Debtors (including the
capital structure, management, ownership, or operation thereof), the RBL Facility, the
assertion or enforcement of rights and remedies against the Debtors, the Debtors’ in- or out-
of-court restructuring efforts, any Avoidance Actions, intercompany transactions between
or among a Debtor and another Debtor, the Chapter 11 Cases, the Plan Sponsor Transaction,
the Restructuring Transaction, the formulation, preparation, dissemination, negotiation, or
filing of the RSA, the Disclosure Statement, the Plan, the Plan Supplement, the Plan Sponsor
Transaction, the Restructuring Transaction, or any other contract, instrument, release, or
other agreement or document (including any legal opinion requested by any Entity regarding
any transaction, contract, instrument, document or other agreement contemplated by the
Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of

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such legal opinion) related to any of the foregoing or created or entered into in connection
with the RSA, the Disclosure Statement, the Plan, the Plan Supplement, the Plan Sponsor
Transaction, or the Restructuring Transaction, or any other actions taken to effectuate the
Plan, before or during the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit
of Confirmation, the pursuit of Consummation, the administration and implementation of
the Plan, including the issuance or distribution of securities or other property pursuant to
the Plan or any other related agreement, or upon any other related act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective
Date. Notwithstanding the inclusion of any Released Parties as a potential party to any
Transferred Causes of Action (including, for each, Avoidance Actions), such parties shall
remain Released Parties.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release any post-Effective Date obligations of any party or Entity under the Plan, any
Restructuring Transaction, any Definitive Document or any other document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the
Plan.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release any Claims or Causes of Action with respect to Todd Stone divorce litigation,
titled In the Marriage Matter of Todd and Jennifer Stone DC No. 18-02-01705.

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases herein, which includes by reference each
of the related provisions and definitions contained herein, and further, shall constitute the
Bankruptcy Court’s finding that the releases herein are: (1) essential to the Confirmation
of the Plan; (2) in exchange for a substantial contribution and the good and valuable
consideration provided by the Released Parties that is important to the success of the Plan;
(3) a good faith settlement and compromise of the Claims released by the releases herein;
(4) in the best interests of the Debtors and all Holders of Claims and Interests; (5) fair,
equitable and reasonable; (6) given and made after reasonable investigation by the Debtors
and after due notice and opportunity for hearing; and (7) a bar to any of the Debtors
asserting any Claim or Cause of Action released by the releases herein against any of the
Released Parties.

RELEASES BY RELEASING PARTIES

Except as otherwise expressly set forth in the Plan, the Plan Sponsor Agreement, or the
Confirmation Order, on and after the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Debtor and Released Party
is, and is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and
forever released and discharged by each Releasing Party from any and all Claims and Causes
of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort or otherwise, including any
derivative claims asserted on behalf of the Debtors, that such Entity would have been legally
entitled to assert (whether individually or collectively), based on or relating to, or in any
manner arising from, in whole or in part, the Debtors (including the capital structure,
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management, ownership, or operations thereof), the Debtors’ in- or out-of-court
restructuring efforts, any Avoidance Actions, any intercompany transactions between or
among a Debtor and another Debtor, the Chapter 11 Cases, the Plan Sponsor Transaction,
the Restructuring Transaction, the formulation, preparation, dissemination, negotiation, or
filing of the RSA, the Plan Sponsor Agreement, the Restructuring Stipulation, the Disclosure
Statement, the Plan, the Restructuring Transaction, or any other contract, instrument,
release, or other agreement or document (including any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document or other agreement
contemplated by the Plan or the reliance by any Released Party on the Plan or the
Confirmation Order in lieu of such legal opinion) relating to any of the foregoing or created
or entered into in connection with the RSA, the Plan Sponsor Transaction, the Restructuring
Stipulation, the Disclosure Statement, the Plan, or the Restructuring Transaction, or any
other actions taken to effectuate the Plan, before or during the Chapter 11 Cases, the filing
of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation,
the administration and implementation of the Plan, including the issuance or distribution of
securities or other property pursuant to the Plan or any other related agreement, or upon
any other related act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release any post-Effective Date obligations of any party or Entity under the Plan, any
Restructuring Transaction, any Definitive Document or any other document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement
the Plan.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release any Claims or Causes of Action with respect to Todd Stone divorce litigation,
titled In the Marriage Matter of Todd and Jennifer Stone DC No. 18-02-01705.

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases of Holders of Claims and Interests, which
includes by reference each of the related provisions and definitions contained herein, and
further, shall constitute the Bankruptcy Court’s finding that the releases herein are:
(1) essential to the Confirmation of the Plan; (2) in exchange for a substantial contribution
and the good and valuable consideration provided by the Released Parties that is important
to the success of the Plan; (3) a good faith settlement and compromise of the Claims released
by the Releasing Parties; (4) in the best interests of the Debtors and all Holders of Claims
and Interests; (5) fair, equitable and reasonable; (6) given and made after due notice and
opportunity for hearing; and (7) a bar to any of the Releasing Parties asserting any Claim or
Cause of Action released by the releases herein against any of the Released Parties.

RELEASE OF LIENS

Except as otherwise specifically provided in the Plan, the Plan Sponsor Agreement or in any
contract, instrument, release, or other agreement or document created pursuant to the Plan
(including the terms of the RBL Contingent Value Rights, the RBL Contingent Value Rights
Memorandum, the Term Loan Contingent Value Rights, the Term Loan Contingent Value
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Rights Agreement, and the Term Loan Contingent Value Rights Memorandum), on
the Effective Date and concurrently with the applicable distributions made pursuant to the
Plan and the Plan Sponsor Agreement, all mortgages, deeds of trust, Liens, pledges, or other
security interests against any property, assets, or interests of the Estates shall be fully
released, settled, compromised, and discharged, and all of the right, title, and interest of any
Holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall
revert to the Plan Sponsor (or the Acquired Debtor, as applicable) without any further
approval or order of the Bankruptcy Court and without any action or Filing being required
to be made by the Debtors. Any Holder of a Secured Claim (including any applicable agents
for such Holder) shall be authorized and directed to release any collateral or property of any
Debtor (including any cash collateral and possessory collateral) held by such Holder (and
any applicable agents), and to take such actions as may be reasonably requested by the
Debtors or the Plan Sponsor to evidence the release of such Lien, including the execution,
delivery and filing or recordation of such releases. The presentation or filing of the
Confirmation Order to or with any federal, state, provincial or local agency or department
shall constitute good and sufficient evidence of, but shall not be required to effect, the
termination of such Liens. In addition, the RBL Facility Agent and the Term Loan Agent
shall execute and deliver all documents reasonably requested by the Debtors, the Plan
Administrator or the Plan Sponsor to evidence the release of such mortgages, deeds of trust,
Liens, pledges, and other security interests and shall authorize the Debtors to file UCC-3
termination statements (to the extent applicable) with respect thereto.

EXCULPATION

Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur
any liability for, and each Exculpated Party is hereby released and exculpated from any
Claims or Cause of Action for, any claim related to any act or omission in connection with,
relating to, or arising out of, the Chapter 11 Cases, the formulation, preparation,
dissemination, negotiation, or filing of the RSA and related prepetition transactions
(including the RBL Facility), the Disclosure Statement, the Plan, the Plan Supplement, the
Restructuring Stipulation, the Plan Sponsor Transaction and any actions taken to effectuate
the Plan, or any Restructuring Transaction, contract, instrument, release or other agreement
or document (including any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document or other agreement contemplated by the Plan or the reliance
by any Releasing Party on the Plan or the Confirmation Order in lieu of such legal opinion)
created or entered into before or during the Chapter 11 Cases, any preference, fraudulent
transfer, or other avoidance claim arising pursuant to chapter 5 of the Bankruptcy Code or
other applicable law, in connection with the Disclosure Statement or the Plan, the filing of
the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of
securities pursuant to the Plan, or the distribution of property, assets, and interest under the
Plan or any other related agreement, or upon any other related act or omission, transaction,
agreement, event or other occurrence taking place on or before the Effective Date, except for
claims related to any act or omission that is determined in a Final Order to have constituted
actual fraud or gross negligence, but in all respects the Exculpated Parties shall be entitled
to reasonably rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan. The Exculpated Parties have, and upon confirmation of the Plan shall
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be deemed to have, participated in good faith and in compliance with the applicable laws
with regard to the solicitation of votes and distribution of consideration pursuant to the Plan
and, therefore, are not, and on account of such distributions shall not be, liable at any time
for the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Plan or such distributions made pursuant to the Plan.

INJUNCTION

Except as otherwise expressly provided in the Plan or for distributions required to be paid
or delivered pursuant to the Plan or the Confirmation Order, all Entities that have held,
hold, or may hold Claims or Interests that have been released pursuant to the Plan shall be
discharged pursuant to the Plan, or are subject to exculpation pursuant to the Plan, are
permanently enjoined, from and after the Effective Date, from taking any of the following
actions against, as applicable, the Debtors, the Released Parties, or the Exculpated Parties
(to the extent of the exculpation provided pursuant to the Plan with respect to the Exculpated
Parties): (i) commencing or continuing in any manner any action or other proceeding of any
kind on account of or in connection with or with respect to any such Claims or Interests;
(ii) enforcing, attaching, collecting, or recovering by any manner or means any judgment,
award, decree, or order against such Entities on account of or in connection with or with
respect to any such Claims or Interests; (iii) creating, perfecting, or enforcing any Lien or
encumbrance of any kind against such Entities or the property or interest in property or the
Estates of such Entities on account of or in connection with or with respect to any such
Claims or Interests; (iv) asserting any right of setoff, subrogation, or recoupment of any kind
against any obligation due from such Entities or against the property or interest in property
of such Entities on account of or in connection with or with respect to any such Claims or
Interests unless such Entity has timely asserted such setoff right in a document Filed with
the Bankruptcy Court explicitly preserving such setoff, and notwithstanding an indication
of a Claim or Interest or otherwise that such Entity asserts, has, or intends to preserve any
right of setoff pursuant to applicable law or otherwise; and (v) commencing or continuing in
any manner any action or other proceeding of any kind on account of or in connection with
or with respect to any such Claims or Interests released or settled pursuant to the Plan.
Upon entry of the Confirmation Order, all Holders of Claims and Interests and their
respective current and former employees, agents, officers, directors, managers, principals,
and direct and indirect Affiliates shall be enjoined from taking any actions to interfere with
the implementation or Consummation of the Plan. Except as otherwise set forth in the
Confirmation Order, each Holder of an Allowed Claim or Allowed Interest, as applicable,
by accepting, or being eligible to accept, distributions under or Reinstatement of such Claim,
as applicable, pursuant to the Plan, shall be deemed to have consented to the injunction
provisions set forth in Article IX.G of the Plan.

                                   Plan Sponsor Transaction

        As described in greater detail in the Disclosure Statement, the primary purpose of the Plan
is to implement a transaction, pursuant to which San Juan Offshore, LLC (the “Plan Sponsor”) (or
a designee thereof) shall acquire the business enterprise of the Debtors, including substantially of
the the assets of the Debtors, in exchange for the consideration to be distributed to the Estates of

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the Debtors under the Plan (the “Plan Sponsor Transaction”). Pursuant to the Plan Sponsor
Agreement, the sale of the assets to the Plan Sponsor shall be free and clear of all claims,
encumbrances or liabilities other than the Assumed Liabilities and permitted encumbrances in
accordance with section 363(f) of the Bankruptcy Code. Any party or Entity who fails to timely
file an Objection on or before the Confirmation Objection Deadline in accordance with the
procedures above will be forever barred from asserting any Objection to the Plan or Plan Sponsor
Transaction, including with respect to the transfer of the transferred assets of the Debtors free and
clear of all claims, encumbrances or liabilities other than the Assumed Liabilities and permitted
encumbrances.

    Hearing on Confirmation of the Plan and the Adequacy of the Disclosure Statement

       The hearing to consider the adequacy of the Disclosure Statement, any objections thereto,
confirmation of the Plan, any objections thereto, any objections to the proposed assumption of
Executory Contracts and Unexpired Leases, and any other matter that may properly come before
the Bankruptcy Court (the “Combined Hearing”) will be held before the Honorable Marvin Isgur,
courtroom 404, of the United States Bankruptcy Court, Houston Division, 515 Rusk Street,
Houston, Texas 77002, on September 25, 2020, at 10:00 a.m., prevailing Central Time. Please
be advised that the Combined Hearing may be continued from time to time by the Bankruptcy
Court or the Debtors without further notice other than by such adjournment being announced in
open court or by a notice of adjournment filed with the Bankruptcy Court.

                  Assumption of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided in the Plan, all Executory Contracts
and Unexpired Leases not otherwise assumed, assumed and assigned, or rejected will be deemed
assumed and assigned to the Plan Sponsor (or, if applicable, assumed by the Acquired Debtors),
in accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy
Code, other than those that: (1) are identified on the schedule of Rejected Contracts and Leases;
(2) have previously expired or terminated pursuant to their own terms; (3) have been previously
assumed, assumed and assigned, or rejected by the Debtors pursuant to a Final Order; (4) are the
subject of a motion to reject that is pending on the Effective Date; or (5) have an ordered or
requested effective date of rejection that is after the Effective Date. Except as otherwise provided
in the Plan or agreed to by the Debtors and the applicable counterparty, each Assumed Contract
and Lease shall include all modifications, amendments, supplements, restatements, or other
agreements related thereto, and all rights related thereto, if any, including all easements, licenses,
permits, rights, privileges, immunities, options, rights of first refusal, and any other interests,
modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not
be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease or the
validity, priority, or amount of any Claims that may arise in connection therewith. The RSA, the
Restructuring Stipulation, and the Plan Sponsor Agreement (including the Term Loan Contingent
Value Rights Agreement), shall be deemed assumed by the Debtors upon entry of the Confirmation
Order.

       Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court
approving the assumptions, assumptions and assignments, or rejections of the Executory Contracts

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or Unexpired Leases as set forth in the Plan, the schedule of Assumed Contract and Leases, or the
schedule of Rejected Contracts and Leases, pursuant to sections 365 and 1123 of the Bankruptcy
Code. Except as otherwise specifically set forth in the Plan, assumptions, assumptions and
assignments or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are
effective as of the Effective Date. Each Assumed Contract and Lease shall re-vest in and be fully
enforceable by the Plan Sponsor (or, if applicable, the Acquired Debtors), except as such terms
may have been modified by the provisions of the Plan or any order of the Bankruptcy Court
authorizing and providing for its assumption. Any motions to assume or assume and assign
Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to
approval by a Final Order on or after the Effective Date but may be withdrawn, settled, or
otherwise prosecuted by the Plan Sponsor.

        To the maximum extent permitted by law, to the extent any provision in any Assumed
Contract or Lease restricts or prevents, or purports to restrict or prevent, or is breached or deemed
breached by, the assumption or assumption and assignment of such Assumed Contract or Lease
(including any “change of control” provision or payment), then such provision shall be deemed
modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor party
thereto to terminate such Assumed Contract or Lease or to exercise any other default-related rights
(or demands for payment) with respect thereto. Notwithstanding anything to the contrary in
the Plan, the Debtors (at the direction of the Plan Sponsor) and the Plan Sponsor shall reserve the
right to alter, amend, modify, or supplement the schedule of Assumed Contracts and Leases and
the schedule of Rejected Contracts and Leases at any time up to forty-five (45) days after the
Effective Date.

           NOTICE TO HOLDERS OF CERTAIN CONTRACTS AND LEASES

     THE PLAN SPONSOR AGREEMENT CONTEMPLATES THE ASSIGNMENT TO
THE PLAN SPONSOR OF CERTAIN CONTRACTS AND LEASES THAT ARE NOT
EXECUTORY CONTRACTS OR UNEXPIRED LEASES (EACH, AN “ASSIGNED
CONTRACT”). IF ANY PARTY OBJECTS TO SUCH AN ASSIGNMENT, INCLUDING ANY
OBJECTION BASED ON ANY ALLEGED APPROVAL OR CONSENT RIGHT OR ANTI-
ASSIGNMENT PROVISION CONTAINED IN OR APPLICABLE TO ANY ASSIGNED
CONTRACT OR PURCHASED RIGHT OF WAY, THEN SUCH PARTY MUST FILE WITH
THE COURT, NO LATER THAN THE CONFIRMATION OBJECTION DEADLINE, AN
OBJECTION IDENTIFYING (A) ANY ASSIGNED CONTRACT, (B) THE BASIS FOR
OBJECTING TO THE ASSIGNMENT OF SUCH ASSIGNED CONTRACT OR OTHER
ASSETS, AND (C) ALL SUPPORTING DOCUMENTATION (EACH, AN “ASSIGNMENT
OBJECTION”).

     ANY PERSON FAILING TO TIMELY FILE AN ASSIGNMENT OBJECTION WILL
BE (A) FOREVER BARRED FROM OBJECTING TO THE TRANSFER, SALE,
ASSUMPTION, AND/OR ASSIGNMENT OF THE DEBTORS’ RIGHT, TITLE, AND
INTEREST IN, TO, AND UNDER THE ASSETS TO BE SOLD, ASSUMED, AND/OR
ASSIGNED IN CONNECTION WITH THE PLAN, FREE AND CLEAR OF ALL LIENS,
CLAIMS, INTERESTS, AND ENCUMBRANCES (OTHER THAN ASSUMED
OBLIGATIONS AND CERTAIN PERMITTED ENCUMBRANCES TO THE EXTENT SET
FORTH IN THE PLAN SPONSOR AGREEMENT), AND (B) DEEMED TO CONSENT TO

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AND APPROVE THE TRANSFER, SALE, AND ASSUMPTION AND/OR ASSIGNMENT OF
THE COMPANY’S RIGHT, TITLE, AND INTEREST IN, TO, AND UNDER SUCH ASSET,
FREE AND CLEAR OF ALL LIENS, ENCUMBRANCES, CLAIMS, AND OTHER
INTERESTS (OTHER THAN ASSUMED OBLIGATIONS AND CERTAIN PERMITTED
ENCUMBRANCES TO THE EXTENT SET FORTH IN THE PLAN SPONSOR AGREEMENT)
AND REGARDLESS OF WHETHER SUCH CONSENT MUST BE IN WRITING. ON THE
DATE HEREOF, THE DEBTORS WILL SEND THE COMBINED HEARING NOTICE TO
ALL COUNTERPARTIES TO THE ASSIGNED CONTRACTS AND PURCHASED RIGHTS
OF WAY, SETTING FORTH THE ASSIGNMENT OBJECTION PROCEDURES.

 NOTICE TO HOLDERS OF PURPORTED PREFERENTIAL PURCHASE RIGHTS

     THE PLAN SPONSOR AGREEMENT PROVIDES THAT THE DEBTORS WILL
TRANSFER THE ASSETS, INCLUDING ALL PURCHASED RIGHTS OF WAY, TO THE
PLAN SPONSOR FREE AND CLEAR OF ANY PREFERENTIAL PURCHASE RIGHTS,
RIGHTS OF FIRST REFUSAL, DRAG-ALONG RIGHTS, TAG-ALONG RIGHTS, AND
OTHER SIMILAR RIGHTS, IF ANY, THAT ARE APPLICABLE TO THE TRANSFER OF
THE ASSETS IN CONNECTION WITH THE PLAN (EACH, A “PREFERENTIAL
PURCHASE RIGHT”).

     IF ANY PURPORTED HOLDER OF A PREFERENTIAL PURCHASE RIGHT
OBJECTS TO SUCH TRANSFER, INCLUDING ON ACCOUNT OF ANY ALLEGED
PREFERENTIAL PURCHASE RIGHT CONTAINED IN OR APPLICABLE TO ANY
ASSIGNED CONTRACT OR PURCHASED RIGHT OF WAY, THEN SUCH HOLDER MUST
FILE WITH THE COURT NO LATER THAN THE CONFIRMATION OBJECTION
DEADLINE, AN OBJECTION IDENTIFYING (A) THE ASSETS SUBJECT TO SUCH
PREFERENTIAL PURCHASE RIGHT(S), (B) THE APPLICABLE AGREEMENT,
DOCUMENT, OR STATUTE GIVING RISE TO SUCH PREFERENTIAL PURCHASE
RIGHT(S), AND (C) THE PORTION OF THE AGREEMENT, DOCUMENT OR STATUTE
GIVING RISE TO SUCH PREFERENTIAL PURCHASE RIGHT(S), AND INCLUDING ALL
SUPPORTING DOCUMENTATION (A “RIGHTS OBJECTION”).

     ANY PERSON FAILING TO TIMELY FILE A RIGHTS OBJECTION WILL BE
FOREVER BARRED FROM ASSERTING ANY ALLEGED PREFERENTIAL PURCHASE
RIGHTS WITH RESPECT TO THE PLAN. THE COMBINED HEARING NOTICE, WHICH
WILL BE SENT TO ALL KNOWN CREDITORS AND CONTRACT COUNTERPARTIES
AND PUBLISHED AS SET FORTH HEREIN, DISCLOSES THE RIGHTS OBJECTION
PROCEDURES.




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Houston, Texas
August 21, 2020

Respectfully Submitted,

/s/ Matthew D. Cavenaugh
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